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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 In re:                                                   )
                                                          )
 SOURCEWATER, INC.,                                       ) Case No. 23-30960 (JPN)
                           Debtor.                        )
                                                          ) Chapter 11, Subchapter V
                                                          )
                                     WITNESS AND EXHIBIT LIST

 Judge:                        Hon. Jeffrey P. Norman
 Hearing Date:                 August 1, 2023
 Hearing Time:                 9:30 a.m. prevailing Central Time
 Party’s Name:                 Energy Debt Holdings LLC
 Attorney’s Name:              R. J. Shannon
 Attorney’s Phone:             (713) 714-5770
 Nature of Proceeding:         Hearing on:
                                   Confirmation of the Debtor’s Plan of Reorganization Pursuant
                                      to §1190 of the Bankruptcy Code

          Energy Debt Holdings LLC (“EDH”) hereby submits this witness and exhibit list in

connection with the hearing to be held on Monday, August 1, 2023, at 9:30 a.m. (Central Standard

Time) (the “Hearing”).

                                            WITNESSES

          EDH may call any of the following witnesses at the Hearing, whether in person or by

proffer:

          1.   Joshua Adler;
          2.   John J. Griffin III;
          3.   Any witness called or designated by any other party; and
          4.   Any witnesses necessary to rebut the testimony of any witnesses called or designated
               by any other party.
                                              EXHIBITS

          EDH may offer for admission into evidence any of the following exhibits, and any exhibit

designated by any other party, at the Hearing:
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                                                                            Admitted
Ex.                  Description                      Offered   Objection     /Not     Disposition
                                                                            Admitted

1     EDH Senior Secured Credit Note

2     EDH Security Agreement

3     Subordination and Intercreditor Agreement

4     Debtor’s Supplemental UCC-1 Certification
      [ECF No. 6]

5     Debtor’s Voluntary Petition [ECF No. 1]

6     Debtor’s Notice of Filing Statement of Cash
      Flows, Profit and Loss Statement, and
      Balance Sheet for Year Ending December
      31, 2022 [ECF No. 33]

7     Debtor’s Notice of Filing Statement of Cash
      Flows, Profit and Loss Statement, and
      Balance Sheet for the Period January 1,
      2023 – March 17, 2023 [ECF No. 46]

8     Debtor’s Schedules and Statement of
      Financial Affairs [ECF No. 36]

9     Debtor’s Monthly Operating Report for
      March 2023 [ECF No. 81]

10    Debtor’s Monthly Operating Report for
      April 2023 [ECF No. 89]

11    Debtor’s Monthly Operating Report for
      May 31, 2023 [ECF No. 99]

12    Sourcewater Income Projections, Ex. A to
      Proposed Plan [ECF No. 94-1]

13    Liquidation Analysis, Ex. B to Plan [ECF
      No. 94-2]




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                                                                             Admitted
Ex.                   Description                     Offered   Objection      /Not       Disposition
                                                                             Admitted

14    Plan Supplement in Connection with the
      Debtor’s Plan of Reorganization Pursuant to
      § 1190 of the Bankruptcy Code [ECF No.
      127]

15    Secured Promissory Note, Ex. A to DIP
      Financing Motion [ECF No. 39-1]

16    Secured Promissory Note, Ex. A to DIP
      Financing Motion [ECF No. 39-1]

         EDH reserves the right to supplement, amend or delete any witness and exhibits prior to

  the Hearing. EDH also reserves the right to (a) ask the Court to take judicial notice of any

  document, (b) introduce exhibits previously admitted and (c) introduce any exhibit necessary or

  appropriate to necessary to rebut the testimony of any witnesses called or designated by any other

  party or an exhibit introduced or designated by any other party.


  Dated: July 27, 2023                         SHANNON & LEE LLP


                                                /s/ R. J. Shannon
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                                                Counsel to Energy Debt Holdings LLC




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